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10                            UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13 JING ZHOU,                                    No. 2:24-cv-07457-PA-AS
14               Plaintiff,                     25'(5DISMISSIN*
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15
                        v.
16                                               Honorable Percy Anderson
   ALEJANDRO N. MAYORKAS,
17 Secretary of Homeland Security,               United States District Judge
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                Defendant.
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 1          Having read and considered the Joint Stipulation to Dismiss the Case submitted by
 2    the parties, and finding good cause therefor,
 3          IT IS HEREBY ORDERED that:
 4          1.     The instant action shall be dismissed without prejudice;
 5          2.     United States Citizenship and Immigration Services (“USCIS”) shall
 6                 interview Plaintiff on July 17, 2025, at 10:45 a.m. at the Los Angeles
 7                 Asylum Office, in Tustin, California. USCIS intends to conduct the
 8                 interview on the date set; however, the parties understand that due to
 9                 unexpected staffing limitations or other unforeseen circumstances that may
10                 arise, USCIS reserves its right to cancel and reschedule the interview.
11                 Should rescheduling be necessary, the interview will be rescheduled within
12                 four (4) weeks of the original interview date, absent unforeseen or
13                 exceptional circumstances;
14          3.     Plaintiff agrees to attend the interview on the date listed above, absent
15                 unforeseen or exceptional circumstances;
16          4.     If needed, Plaintiff agrees to only make one (1) interview reschedule request
17                 and to notify the Los Angeles Asylum Office of the reschedule request, in
18                 writing, prior to the scheduled interview date. Plaintiff may email the
19                 reschedule request to LosAngelesAsylum@uscis.dhs.gov;
20          5.     If multiple reschedule requests are made by Plaintiff, USCIS may place the
21                 asylum application back into the Los Angeles Asylum Office’s general
22                 interview scheduling priorities. ee
23                 https://www.uscis.gov/humanitarian/refugees-and-
24                 asylum/asylum/affirmative-asylum-interview-scheduling;
25          6.     Plaintiff understands that additional interview(s) may be required by USCIS
26                 as part of the asylum interview process and the adjudication of the
27                 application;
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 1          7.    USCIS agrees to diligently work towards completing adjudication of the
 2                asylum application within 120 days of completion of Plaintiff’s asylum
 3                interview, absent unforeseen or exceptional circumstances that would
 4                require additional time to complete adjudication;
 5          8.    In the event that USCIS does not complete adjudication of the asylum
 6                application within 120 days of the completion of the asylum interview,
 7                Plaintiff may refile this action;
 8          9.    Plaintiff agrees to submit all supplemental documents and evidence, if any,
 9                to USCIS prior to the agreed upon scheduled interview based on the
10                following timelines: Plaintiff may email any supplemental documents to
11                LosAngelesAsylum@uscis.dhs.gov at least seven (7) calendar days before
12                the interview. Alternatively, Plaintiff may mail the supplemental documents
13                to the Los Angeles Asylum Office, P.O. Box 2003, Tustin, CA 92781-2003,
14                postmarked no later than ten (10) calendar days prior to the scheduled
15                asylum interview. Plaintiff recognizes that failure to submit these
16                documents in a timely manner may result in the interview being rescheduled
17                at no fault of USCIS;
18          10.   Each party agrees to bear the party’s own litigation costs, expenses, and
19                attorney fees.
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                                                    RCY ANDERSON
                                                  PERCY
24                                         UNITED STAATES DISTRICT JUDGE
                                                   STATES
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